Case 9:20-md-02924-RLR Document 7314 Entered on FLSD Docket 07/05/2024 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                     MDL NO. 2924
   PRODUCTS LIABILITY                                              20-MD-2924
   LITIGATION

                                                     JUDGE ROBIN L. ROSENBERG
                                            MAGISTRATE JUDGE BRUCE E. REINHART

   ___________________________________/

   THIS DOCUMENT RELATES TO:
   Rounds v. GlaxoSmithKline LLC, et al., No. 9:24-cv-80266-RLR


         NOTICE REGARDING REPRESENTATION AND MOTION FOR RELIEF



         DATED: July 5, 2024
Case 9:20-md-02924-RLR Document 7314 Entered on FLSD Docket 07/05/2024 Page 2 of 4




          The Court ordered undersigned counsel to file a substantive, ten-page response regarding

   relief from PTO 72. D.E. 7304. Undersigned counsel respectfully moves for relief from that order

   for two related reasons. First, undersigned counsel no longer represents Plaintiff David Rounds.

   Second, undersigned counsel’s ethical obligations to Mr. Rounds precludes submission of a

   meaningful response.

          In July of 2021, Mr. Rounds signed a retainer with Keller Lenkner LLC (now Keller

   Postman LLC). D.E. 7282 at 2. During the first round of briefing related to his motion to remand,

   Mr. Rounds had not terminated that engagement. However, on July 3, 2024, Mr. Rounds

   disengaged Keller Postman, stating: “This letter is to confirm that Moore Law Group, PLLC

   represents David Rounds in his claim against the manufacturers of Zantac and has since October

   2020. Mr. Rounds has instructed Moore Law Group, PLLC to notify your firm that you do not

   represent Mr. Rounds and if any attorney-client relationship did exist it should be considered

   terminated.” Ex. 1.

          Like all clients, Mr. Rounds has an unfettered right to disengage counsel. He has exercised

   that right, making clear his intention to be represented exclusively by Moore Law. In view of Mr.

   Rounds’ unambiguous intent, undersigned counsel should be excused from filing a response. First,

   counsel typically submit filings on behalf of party-clients to a proceeding. Undersigned counsel

   no longer represents any party seeking relief from PTO 72. Because no relevant attorney-client

   relationship exists, counsel should be excused from having to file a response, since counsel does

   not seek any relief on its own behalf and his been instructed to step aside by the only party with

   an interest in the motion to remand.

          What’s more, undersigned counsel has ethical concerns about filing any response that does

   anything more than repeat unaltered the competently made points that Moore Law has already




                                                   1
Case 9:20-md-02924-RLR Document 7314 Entered on FLSD Docket 07/05/2024 Page 3 of 4




   made on behalf of Mr. Rounds. In Florida as in almost every jurisdiction, a lawyer’s duties to his

   former client precludes using any information gleaned from the representation “to the disadvantage

   of the former client.” R. Regul. FL. Bar 4-1.9. Mr. Rounds—undersigned counsel’s former

   client—has made quite clear that he seeks relief from PTO 72. Anything undersigned counsel

   might write that departs from the arguments his current counsel has made could be seen as

   operating “to the disadvantage of” Mr. Rounds. The Court should not put Keller Postman in that

   position, not least because Ms. Moore and defendants have competently and ethically defended

   their respective clients’ positions. The Court can thus be assured that it will be able to issue a

   decision with the benefit of full briefing and vigorous, zealous advocacy. If the Court denies this

   motion, undersigned counsel respectfully requests any guidance the Court is willing to provide

   about the issues of fact or law that it wishes undersigned counsel to brief on behalf of no current

   client and consistent with its ethical obligations to a former client.




                                                      2
Case 9:20-md-02924-RLR Document 7314 Entered on FLSD Docket 07/05/2024 Page 4 of 4




                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 5, 2024, I electronically filed the foregoing document with the

   Clerk of the Court using CM/ECF and that the foregoing document is being served on all counsel

   of record or parties registered to receive CM/ECF Electronic Filings.



                                                             /s/ Ashley Keller
                                                             Ashley Keller




                                                    3
